     Case 3:09-cv-00780-KSC Document 151 Filed 08/20/18 PageID.1424 Page 1 of 1



 1
 2
 3
 4
 5
 6
 7
 8                          UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
10
11   MICHAEL P. KOBY, et al.,                       Case No.: 3:09-cv-00780-KSC
12                   Plaintiffs,
                                                    ORDER GRANTING JOINT
13   v.                                             MOTION TO DISMISS
14   ARS NATIONAL SERVICES, INC.,
                                                    [Doc. No. 150]
15                    Defendant.
16
17
18
19         The parties’ Joint Motion to Dismiss [Doc. No. 150] the action with prejudice, and
20   the claims of the members of the putative class without prejudice, is GRANTED.
21         IT IS SO ORDERED.
22   Dated: August 20, 2018
23
24
25
26
27
28
                                                1
                                                                              3:09-cv-00780-KSC
